Information to identify the case:
Debtor 1              Charles F. Miller                                                   Social Security number or ITIN         xxx−xx−1237
                      First Name   Middle Name     Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Alexis Dawn Miller                                                  Social Security number or ITIN         xxx−xx−7583
(Spouse, if filing)
                      First Name   Middle Name     Last Name                              EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Pennsylvania                 Date case filed for chapter 7 November 19,
                                                                                          2018
Case number:          5:18−bk−04855−JJT


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Charles F. Miller                                   Alexis Dawn Miller

2.      All other names used in the aka Charles Francis Miller, aka Charles Miller                   aka Alexis D. Miller, aka Alexis Miller, aka
        last 8 years                                                                                 Alexis Crown

3.     Address                               1167 Route 390                                          1167 Route 390
                                             Cresco, PA 18326−7905                                   Cresco, PA 18326−7905

4.     Debtor's attorney                     Vincent Rubino                                         Contact phone 570 421−9090
                                             Newman Williams Mishkin Corveleyn et al
       Name and address                      712 Monroe Street                                      Email: VRubino@newmanwilliams.com
                                             PO Box 511
                                             Stroudsburg, PA 18360−0511

5.     Bankruptcy trustee                    Robert P. Sheils, Jr (Trustee)                         Contact phone 570 587−2600
                                             Sheils Law Associates, PC
       Name and address                      108 North Abington Road                                Email: rsheils@sheilslaw.com
                                             Clarks Summit, PA 18411
                                                                                                                 For more information, see page 2
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Debtor Charles F. Miller and Alexis Dawn Miller                                                              Case number 5:18−bk−04855−JJT

Receiving Court Issued Orders and Notices by E−Mail: (1) Anyone can register for the Electronic Bankruptcy Noticing
program at ebn.uscourts.gov. (2) Only Debtors can register for DeBN (Debtor's Electronic Bankruptcy Noticing) by filing a DeBN
Request form (www.pamb.uscourts.gov/debn−form), with the Clerk of Court. Both options are FREE and allow the clerk to
quickly send you Court Issued Orders and Notices by E−Mail.

6. Bankruptcy clerk's office                    U.S. Bankruptcy Court                                        Hours open Monday − Friday 9:00
                                                274 Max Rosenn U.S. Courthouse                               AM to 4:00 PM
    Documents in this case may be filed at this 197 South Main Street
    address. You may inspect all records filed Wilkes−Barre, PA 18701                                        Contact phone (570) 831−2500
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Date: November 20, 2018

7. Meeting of creditors                          January 25, 2019 at 08:30 AM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Courtroom #2, Max Rosenn US
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Courthouse, 197 South Main
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Street, Wilkes−Barre, PA 18701

                                                     *** Valid photo identification and proof of social
                                                              security number are required ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: March 26, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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